Case 1:18-cv-01519-MN Document 133 Filed 04/16/20 Page 1 of 3 PageID #: 5987




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 FINJAN, INC., a Delaware Corporation,

                        Plaintiff,

        v.                                          C.A. No. 1:18-cv-01519-MN

 RAPID7, INC., a Delaware Corporation
 and RAPID7 LLC, a Delaware Limited
 Liability Company,

                        Defendants.


                     STIPULATION AND ORDER TO EXTEND TIME

       Plaintiff Finjan, Inc. and Defendants Rapid7, Inc. and Rapid7 LLC (collectively, “the

Parties”), by and through their undersigned counsel, and subject to the approval of the Court,

hereby stipulate and agree to extend certain case deadlines, as indicated below.

       The COVID-19 pandemic and resulting shelter in place laws have created substantial

impediments to the Parties and their experts’ ability to complete expert reports on the current

schedule. This includes the inability for experts to travel to and access Defendants’ source code,

as Defendants’ facilities are currently closed through June 1, 2020. The extended deadlines do not

impact the Court’s scheduled trial date.

        Deadline                                 Current Date          Extended Date

        Opening/Burden of Proof Expert 4/21/20                         5/22/20
        Reports
        Rebuttal Expert Reports        5/22/20                         6/26/20

        Reply Expert Reports                     6/26/20               7/31/20

        Close of expert discovery                7/24/20               8/28/20
Case 1:18-cv-01519-MN Document 133 Filed 04/16/20 Page 2 of 3 PageID #: 5988




        Opening letter briefs seeking                                    9/3/2020
        permission to file summary judgment
        motions
        Answering letter briefs regarding                                7 days after
        requests to file motions for summary                             opening letter
        judgment                                                         brief
        Case Dispositive Motions (if 8/07/20                             9/25/20
        permitted) and Daubert Motions
        Joint Proposed final pretrial order  2/1/21                      same

        Pre-trial Conference                      2/08/21 – 2 PM         same

        Trial – 6-day Jury                        2/22/21 -9:30 AM       same



       Prior to filing any summary judgment motion, the parties must submit letter briefs seeking

permission to file the motion. Opening letter briefs shall be no longer than five (5) pages and shall

be filed with the Court no earlier than September 3, 2020. Answering letter briefs shall be no

longer than five (5) pages and shall be filed with the Court no more than seven (7) days after the

Opening Letter Brief. No replies shall be filed. Unless the Court grants leave for additional letters

to be filed, each side shall present all grounds on which it seeks permission to file for summary

judgment in its single opening letter brief.


 POTTER ANDERSON &                                    DUANE MORRIS LLP
 CORROON, LLP


 /s/ Philip A. Rovner                                 /s/ Richard L. Renck
 Philip A. Rovner (No. 3215)                          Richard L. Renck (I.D. No. 3893)
 Jonathan A. Choa (No. 5319)                          222 Delaware Avenue, Suite 1600
 1313 N. Market St., 6th Floor                        Wilmington, DE 19801
 Wilmington, DE 19899-0951                            Tel.: (302) 657-4900
 Tel.: (302) 984-6000                                 rlrenck@duanemorris.com
 provner@potteranderson.com
 jchoa@potteranderson.com                             Counsel for Defendants
                                                      Rapid7, Inc. and Rapid7 LLC
 Counsel for Plaintiff
 Finjan, Inc.

                                                 2
Case 1:18-cv-01519-MN Document 133 Filed 04/16/20 Page 3 of 3 PageID #: 5989




Dated: April 15, 2020

     SO ORDERED, this WK day of April, 2020.



                                     ____
                                     __________________________________
                                       _ _____________________________
                                     7KH+RQRUDEOH0DU\HOOHQ1RUHLND
                                     7K
                                      KH+RQR
                                            QRRUDEOH0DU\HOOHQ1RUHLND
                                     United
                                          d States
                                            States District Judge




                                       3
